      Case 1:03-cv-00785-MBH      Document 244-17         Filed 02/02/18     Page 1 of 4



                IN THE UNITED STATES COURT OF FEDERAL CLAIMS

 WARREN BERES, et al.,                    )
                                          )            Nos. 03-7 85L, 04-L456L,
          Plaintiffs,                     )            0 4- 1457 L, 0 4-I 458L, O 4-

                                          )            I459L,04-L463L, 04-
 v                                        )            r46õL,04-1466L, 04-
                                          )            I467L, O4-r46gL, 04-
 UNITED STATES,                           )            1469L, 04-L47 tL, 04-
                                          )            I472L, 04-t473L, O4-I47 4L
          Defendant.                      )
                                          )            The Honorable Marian Blank
                                          )            Horn
                                          )



                     DECLARATION OF BETH NELSON



     I, Beth Nelson, make the following declaration:

     1. I am a United States citizen, a resident of the State of Washington, over the

age of twenty-one, have personal knowledge of the facts stated here in and am

competent to testifii to the matters stated in this Declaration. I and my husband

Robert are Plaintiffs in Nelson u. United States, No. 04-1465L.

     2. I am the granddaughter of Gertie Gorman Hughes, who was the daughter of
Alfred Palmberg, the person who gave the railroad an easement in 1887.

     3. My husband and I purchased the property at 3L23 East Lake Sammamish
Parkway NE from my parents, William and Betty Hughes in Ig77 .Immediately,

thereafter we built our home and lived there until November of 1998 when we sold

our property. While I understand that the Government is asserting that we only




Declaration of Beth Nelson 1

                                                                                       Ex. 11-1
     Case 1:03-cv-00785-MBH       Document 244-17    Filed 02/02/18   Page 2 of 4



bought submerged lands from my parents, that was not the understanding of any of

the parties to that transaction

   4. W'hen we purchased our property, my husband and I and my parents
understood that we were buying waterfront property west of the railroad right of

way along with the submerged lands out to the line of navigability which I believe

was where water was 12 feet deep. This was just a few years after my parents

bought from Rose Earley. The whole purpose of our purchase was so we could build

our home. It would be completely illogical for us to be purchasing only submerged

lands and no party to the transaction believed that only submerged lands were

being sold

   5. Our family understood that my great grandfather Alfred Palmberg gave the
railroad only an easement and that our family would recover the land if the railroad

ever stopped using the easement for railroad purposes. When my husband and I

purchased our lot, both my parents and my husband and I understood that we

would be buying the adjoining land underlying the railroad right of way. We knew,

however, that we could not interfere with the railroad uses.

   6. We used various portions of the railroad right of way as if it were our own for
over 21 years. We accessed our home with a driveway which crossed over the right

of way. We paved the driveway on the eastside from the railroad tracks to the East

Lake Sammamish Parkway and we placed gravel on the west side of the railroad

tracks to our house. We understood that Burlington Northern had no objection to us

crossing the right of way or constructing these improvements on the right of way.



Declaration of Beth Nelson 2

                                                                             Ex. 11-2
     Case 1:03-cv-00785-MBH       Document 244-17       Filed 02/02/18   Page 3 of 4



   7. On the east side of the right of way, there \ry'as an area where we or our guests
parked vehicles. South of that area $/e planted and maintained an apple, plum and

pear trees and maintained the entire east and west halves of the right of way. This

involved trimming and mowing vegetation on a regular basis. We also maintained

the driveway where rffe accessed our home. We also mowed and maintained the

driveway that provided access to the other two waterfront parcels owned by my

parents

   8. On the west side of the right of way in front of our home, we had our septic
drain field which we maintained as lawn, by regular mowing and watering. My

husband used the lawn for practicing golf. We understood that the railroad had no

objection to our drain field's location on the right of way.

   9. We had a bulldozing business from 1986 until after 1998. During that time
period we parked our bulldozer in an area which was on the east half of the railroad

right of way adjacent to the lot immediately north of our lot every day.

   10. In regard to the two lots north of us that were owned by my parents, we used

the dry land in those lots as well as the right of way for recreational purposes for

over 50 years

   11. At no time did anyone ever tell us that we only had the right to use

submerged lands or that we could not use the railroad right of way.

   12. We paid taxes on our property every year since we fi.rst purchased the property

in L977 and I do not believe the taxes were based solely on owning submerged land.




Declaration of Beth Nelson 3

                                                                               Ex. 11-3
    Case 1:03-cv-00785-MBH       Document 244-17     Filed 02/02/18   Page 4 of 4



King County gave us a building permit and it would not have issued a permit to allow

us to build a home on land that submerged

   I declare under penalty of perjury under the laws of the State of Washington that

the foregoing is true and correct and was executed by me this 29th day of Janüâry,

2018, at Bellevue, Washington.




                                       Beth Nelson




Declaration of Beth Nelson 4

                                                                             Ex. 11-4
